Case 15-12586-amc         Doc 54       Filed 09/18/15 Entered 09/21/15 15:23:40              Desc Main
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                              UNITED STATES BANKRUTPCY COURT
                          FOR THE EASTERN DISTRICT OF PENNSYLVANIA


       JOSEPH GIGLIOTTI, SR.                                 Chapter 13


                              Debtor                 Bankruptcy No. 15-12586-AMC


                                    Order Dismissing Chapter 13 Case and
                                                           Masrier Mailing
                                 Directing Counsel to File Ma^r    Mailing List
                                                                           List.

        AND NOW, this                      day of        ^ J >r             , 201^ upon consideration of the Motion
to Dismiss filed by William C. Miller, standing trustee, tm/case is dismissed and it is further ORDERED, that
counsel for the debtor, shall file a master mailing list with the clerk of the Bankruptcy Court, currently updated
(if such has not been previously filed); and it is further

       ORDERED, that any wage orders are hereby vacated.




                                                     Ashely I^Cl
                                                     Bankruptcy Judge

William C. Miller, Trustee
P.O. Box 40119
Philadelphia, PA 19106-0119

Debtor's Attorney:
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Debtor:
JOSEPH GIGLIOTTI, SR.

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